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                                          October 11, 2022
Ms. Molly C. Dwyer, Clerk
U.S. Court of Appeals for the Ninth Circuit
95 7th Street
San Francisco, CA 94103

Re: Todd Yukutake et. al., v. Holly T. Shikada et. al., No. 21-16756
Dear Ms. Dwyer:
        The court in Antonyuk v. Hochul, 2022 U.S. Dist. LEXIS 182965 (N.D.N.Y. Oct. 6, 2022)
(Antonyuk II) (attached), temporarily enjoined several New York firearms laws relevant to this
case. The court found “generally, a historical statute cannot earn the title ‘analogue’ if it is clearly
more distinguishable than it is similar to the thing to which it is compared.” Id. at *20. The court
then evaluated several New York handgun regulations enacted post-Bruen. The court found a
requirement that the applicant attend an in-person interview unconstitutional because it lacked
historical analogs. Id. at *31.
         Hawaii’s in-person registration requirement is similarly unconstitutional. The Attorney
General relies on three inapplicable examples to support a claim of historical analogs: in-person
inspection of militia arms, pardons issued to felons, and loyalty oaths. However, as the trial court
found “Hawaii's in-person inspection and registration requirement for civilian firearms cannot be
said to fall within the historical tradition of colonial-era laws requiring inspection of what were
effectively the military weapon stockpiles of the day.” Yukutake v. Conners, 554 F. Supp. 3d 1074,
1088 (D. Haw. 2021). Similarly, colonial pardons and loyalty oaths cannot be used to justify in-
person inspection because they lack a sufficient nexus to an in-person registration requirement.
Additionally, colonial pardons cannot be used to justify in-person registration because they were
granted with unbridled discretion. Bruen found unbridled discretion to be unconstitutional in
licensing regimes. Bruen, 142 S. Ct. at 2138 n.9. See Antonyuk II, at *25 (discussing open-ended
discretion and the requirement to persuade a licensing official that the applicant is not a danger to
himself and others). Logically any colonial practice which conferred unbridled discretion cannot
be used to justify a law. “[A]s Blackstone put it, an executive's mercy springs from "a court of
equity in his own breast." 4 William Blackstone, Commentaries *390. This unbounded discretion
sits in uneasy tension with how rights function.” See Fisher v. Kealoha, 855 F.3d 1067, 1072 (9th
Cir. 2017) (Kozinski concurring). Antonyuk II highly supports Plaintiffs’ position that in-person
registration is unconstitutional.
       Yours very truly,
                                               /s/ Alan Beck
                                               Alan Beck
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                                CERTIFICATE OF SERVICE
        I served the foregoing by electronically filing it with the Court’s CM/ECF system which
generated a Notice of Filing and effects service upon counsel for all parties in the case. I certify
that this supplement has 340 words as calculated by Microsoft Office 365.
       I declare under penalty of perjury that the foregoing is true and correct.
 Executed this the 11th day of October 2022.


                                      s/ Alan Beck
